                  Case 3:17-cv-02075-LAB-JMA Document 1-1 Filed 10/09/17 PageID.15 Page 1 of 2
-6 5HY                                                       CIVIL COVER SHEET
7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRISOHDGLQJVRURWKHUSDSHUVDVUHTXLUHGE\ODZH[FHSWDV
SURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKH
SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
FLORENCE MORRIS, individually and on behalf of others similarly                                           SUNRISE CREDIT SERVICES, INC.,
situated

    (b)&RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII                                                     &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            127(          ,1/$1'&21'(01$7,21&$6(686(7+(/2&$7,212)
                                                                                                                           7+(75$&72)/$1',192/9('
                                                                                                               
    (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Joshua B. Swigart, Esq. Hyde & Swigart 619-233-7770
2221Camino Del Rio S., Ste. 101, San Diego, CA 92108
                                                                                                                              '17CV2075 LAB JMA
II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                           and One Box for Defendant)
u  86*RYHUQPHQW                 u  )HGHUDO4XHVWLRQ                                                                     PTF           DEF                                          PTF      DEF
        3ODLQWLII                            (U.S. Government Not a Party)                        &LWL]HQRI7KLV6WDWH         u            u     ,QFRUSRUDWHGor3ULQFLSDO3ODFH       u       u 
                                                                                                                                                      RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW                 u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH          u        u     ,QFRUSRUDWHGand3ULQFLSDO3ODFH     u       u 
        'HIHQGDQW                            (Indicate Citizenship of Parties in Item III)                                                               RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                                  &LWL]HQRU6XEMHFWRID           u        u     )RUHLJQ1DWLRQ                       u       u 
                                                                                                  )RUHLJQ&RXQWU\
IV. NATURE OF SUIT(Place an “X” in One Box Only)
           CONTRACT                                            TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
u   ,QVXUDQFH                     PERSONAL INJURY           PERSONAL INJURY         u 'UXJ5HODWHG6HL]XUH             u $SSHDO86&          u   )DOVH&ODLPV$FW
u   0DULQH                       u $LUSODQH                 u 3HUVRQDO,QMXU\           RI3URSHUW\86&          u :LWKGUDZDO                 u   6WDWH5HDSSRUWLRQPHQW
u   0LOOHU$FW                   u $LUSODQH3URGXFW                 3URGXFW/LDELOLW\   u 2WKHU                                 86&                u   $QWLWUXVW
u   1HJRWLDEOH,QVWUXPHQW               /LDELOLW\             u +HDOWK&DUH                                                                                    u   %DQNVDQG%DQNLQJ
u   5HFRYHU\RI2YHUSD\PHQW      u $VVDXOW/LEHO                  3KDUPDFHXWLFDO                                                PROPERTY RIGHTS                u   &RPPHUFH
        (QIRUFHPHQWRI-XGJPHQW           6ODQGHU                       3HUVRQDO,QMXU\                                             u &RS\ULJKWV                 u   'HSRUWDWLRQ
u   0HGLFDUH$FW                 u )HGHUDO(PSOR\HUV¶               3URGXFW/LDELOLW\                                           u 3DWHQW                     u   5DFNHWHHU,QIOXHQFHGDQG
u   5HFRYHU\RI'HIDXOWHG               /LDELOLW\             u $VEHVWRV3HUVRQDO                                              u 7UDGHPDUN                         &RUUXSW2UJDQL]DWLRQV
       6WXGHQW/RDQV                u 0DULQH                           ,QMXU\3URGXFW                                                                              u   &RQVXPHU&UHGLW
        ([FOXGHV9HWHUDQV           u 0DULQH3URGXFW                   /LDELOLW\                         LABOR                        SOCIAL SECURITY              u   &DEOH6DW79
u   5HFRYHU\RI2YHUSD\PHQW             /LDELOLW\               PERSONAL PROPERTY          u   )DLU/DERU6WDQGDUGV           u   +,$ II              u   6HFXULWLHV&RPPRGLWLHV
       RI9HWHUDQ¶V%HQHILWV        u 0RWRU9HKLFOH            u 2WKHU)UDXG                    $FW                           u   %ODFN/XQJ                  ([FKDQJH
u   6WRFNKROGHUV¶6XLWV          u 0RWRU9HKLFOH            u 7UXWKLQ/HQGLQJ        u   /DERU0DQDJHPHQW               u   ',:&',::  J         u   2WKHU6WDWXWRU\$FWLRQV
u   2WKHU&RQWUDFW                      3URGXFW/LDELOLW\      u 2WKHU3HUVRQDO                 5HODWLRQV                     u   66,'7LWOH;9,           u   $JULFXOWXUDO$FWV
u   &RQWUDFW3URGXFW/LDELOLW\   X anh
                                     u 2WKHU3HUVRQDO                   3URSHUW\'DPDJH      u   5DLOZD\/DERU$FW              u   56,  J               u   (QYLURQPHQWDO0DWWHUV
u   )UDQFKLVH                           ,QMXU\                 u 3URSHUW\'DPDJH         u   )DPLO\DQG0HGLFDO                                              u   )UHHGRPRI,QIRUPDWLRQ
                                     u 3HUVRQDO,QMXU\                3URGXFW/LDELOLW\           /HDYH$FW                                                             $FW
                                            0HGLFDO0DOSUDFWLFH                                  u   2WKHU/DERU/LWLJDWLRQ                                          u   $UELWUDWLRQ
        REAL PROPERTY                      CIVIL RIGHTS              PRISONER PETITIONS           u   (PSOR\HH5HWLUHPHQW              FEDERAL TAX SUITS              u   $GPLQLVWUDWLYH3URFHGXUH
u   /DQG&RQGHPQDWLRQ            u 2WKHU&LYLO5LJKWV         Habeas Corpus:                     ,QFRPH6HFXULW\$FW            u 7D[HV 863ODLQWLII             $FW5HYLHZRU$SSHDORI
u   )RUHFORVXUH                  u 9RWLQJ                   u $OLHQ'HWDLQHH                                                      RU'HIHQGDQW                     $JHQF\'HFLVLRQ
u   5HQW/HDVH (MHFWPHQW       u (PSOR\PHQW               u 0RWLRQVWR9DFDWH                                              u ,56²7KLUG3DUW\            u   &RQVWLWXWLRQDOLW\RI
u   7RUWVWR/DQG                u +RXVLQJ                      6HQWHQFH                                                            86&                      6WDWH6WDWXWHV
u   7RUW3URGXFW/LDELOLW\              $FFRPPRGDWLRQV         u *HQHUDO
u   $OO2WKHU5HDO3URSHUW\      u $PHUZ'LVDELOLWLHV   u 'HDWK3HQDOW\                    IMMIGRATION
                                            (PSOR\PHQW               Other:                      u 1DWXUDOL]DWLRQ$SSOLFDWLRQ
                                     u $PHUZ'LVDELOLWLHV   u 0DQGDPXV 2WKHU        u 2WKHU,PPLJUDWLRQ
                                            2WKHU                  u &LYLO5LJKWV              $FWLRQV
                                     u (GXFDWLRQ                u 3ULVRQ&RQGLWLRQ
                                                                    u &LYLO'HWDLQHH
                                                                         &RQGLWLRQVRI
                                                                         &RQILQHPHQW
V. ORIGIN(Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHGIURP                u        5HPDQGHGIURP            u  5HLQVWDWHGRU       u  7UDQVIHUUHGIURP            u  0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH&RXUW                            $SSHOODWH&RXUW              5HRSHQHG                 $QRWKHU'LVWULFW                 /LWLJDWLRQ
                                                                                                                             (specify)
                                         &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                         California Penal Code Section 632.7
VI. CAUSE OF ACTION                      %ULHIGHVFULSWLRQRIFDXVH
                                         Illegal Recording of Cellular Communications; Invasion of Privacy, Instruction Into Private Affairs
VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                               DEMAND $                                     &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
     COMPLAINT:          81'(558/()5&Y3                                                       5,000,000.00                               JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                             '2&.(7180%(5
'$7(                                                                   6,*1$785(2)$77251(<2)5(&25'
10/09/2017                                                            s/ Joshua B. Swigart
FOR OFFICE USE ONLY

    5(&(,37                     $02817                                   $33/<,1*,)3                                     -8'*(                            0$*-8'*(
                Case 3:17-cv-02075-LAB-JMA Document 1-1 Filed 10/09/17 PageID.16 Page 2 of 2
-65HYHUVH 5HY


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                 $XWKRULW\)RU&LYLO&RYHU6KHHW

7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHVQRUVXSSOHPHQWVWKHILOLQJVDQGVHUYLFHRISOHDGLQJRURWKHUSDSHUVDV
UHTXLUHGE\ODZH[FHSWDVSURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULV
UHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKHSXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW&RQVHTXHQWO\DFLYLOFRYHUVKHHWLVVXEPLWWHGWRWKH&OHUNRI
&RXUWIRUHDFKFLYLOFRPSODLQWILOHG7KHDWWRUQH\ILOLQJDFDVHVKRXOGFRPSOHWHWKHIRUPDVIROORZV

I.(a)    Plaintiffs-Defendants.(QWHUQDPHV ODVWILUVWPLGGOHLQLWLDO RISODLQWLIIDQGGHIHQGDQW,IWKHSODLQWLIIRUGHIHQGDQWLVDJRYHUQPHQWDJHQF\XVH
         RQO\WKHIXOOQDPHRUVWDQGDUGDEEUHYLDWLRQV,IWKHSODLQWLIIRUGHIHQGDQWLVDQRIILFLDOZLWKLQDJRYHUQPHQWDJHQF\LGHQWLI\ILUVWWKHDJHQF\DQG
         WKHQWKHRIILFLDOJLYLQJERWKQDPHDQGWLWOH
  (b)    County of Residence.)RUHDFKFLYLOFDVHILOHGH[FHSW86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\ZKHUHWKHILUVWOLVWHGSODLQWLIIUHVLGHVDWWKH
         WLPHRIILOLQJ,Q86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\LQZKLFKWKHILUVWOLVWHGGHIHQGDQWUHVLGHVDWWKHWLPHRIILOLQJ 127(,QODQG
         FRQGHPQDWLRQFDVHVWKHFRXQW\RIUHVLGHQFHRIWKHGHIHQGDQWLVWKHORFDWLRQRIWKHWUDFWRIODQGLQYROYHG
  (c)    Attorneys.(QWHUWKHILUPQDPHDGGUHVVWHOHSKRQHQXPEHUDQGDWWRUQH\RIUHFRUG,IWKHUHDUHVHYHUDODWWRUQH\VOLVWWKHPRQDQDWWDFKPHQWQRWLQJ
         LQWKLVVHFWLRQ VHHDWWDFKPHQW 

II.      Jurisdiction.7KHEDVLVRIMXULVGLFWLRQLVVHWIRUWKXQGHU5XOH D )5&Y3ZKLFKUHTXLUHVWKDWMXULVGLFWLRQVEHVKRZQLQSOHDGLQJV3ODFHDQ;
         LQRQHRIWKHER[HV,IWKHUHLVPRUHWKDQRQHEDVLVRIMXULVGLFWLRQSUHFHGHQFHLVJLYHQLQWKHRUGHUVKRZQEHORZ
         8QLWHG6WDWHVSODLQWLII  -XULVGLFWLRQEDVHGRQ86&DQG6XLWVE\DJHQFLHVDQGRIILFHUVRIWKH8QLWHG6WDWHVDUHLQFOXGHGKHUH
         8QLWHG6WDWHVGHIHQGDQW  :KHQWKHSODLQWLIILVVXLQJWKH8QLWHG6WDWHVLWVRIILFHUVRUDJHQFLHVSODFHDQ;LQWKLVER[
         )HGHUDOTXHVWLRQ  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHMXULVGLFWLRQDULVHVXQGHUWKH&RQVWLWXWLRQRIWKH8QLWHG6WDWHVDQDPHQGPHQW
         WRWKH&RQVWLWXWLRQDQDFWRI&RQJUHVVRUDWUHDW\RIWKH8QLWHG6WDWHV,QFDVHVZKHUHWKH86LVDSDUW\WKH86SODLQWLIIRUGHIHQGDQWFRGHWDNHV
         SUHFHGHQFHDQGER[RUVKRXOGEHPDUNHG
         'LYHUVLW\RIFLWL]HQVKLS  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHSDUWLHVDUHFLWL]HQVRIGLIIHUHQWVWDWHV:KHQ%R[LVFKHFNHGWKH
         FLWL]HQVKLSRIWKHGLIIHUHQWSDUWLHVPXVWEHFKHFNHG. 6HH6HFWLRQ,,,EHORZ; NOTE: federal question actions take precedence over diversity
         cases.

III.     Residence (citizenship) of Principal Parties.7KLVVHFWLRQRIWKH-6LVWREHFRPSOHWHGLIGLYHUVLW\RIFLWL]HQVKLSZDVLQGLFDWHGDERYH0DUNWKLV
         VHFWLRQIRUHDFKSULQFLSDOSDUW\

IV.      Nature of Suit.3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHQDWXUHRIVXLWFDQQRWEHGHWHUPLQHGEHVXUHWKHFDXVHRIDFWLRQLQ6HFWLRQ9,EHORZLV
         VXIILFLHQWWRHQDEOHWKHGHSXW\FOHUNRUWKHVWDWLVWLFDOFOHUN V LQWKH$GPLQLVWUDWLYH2IILFHWRGHWHUPLQHWKHQDWXUHRIVXLW,IWKHFDXVHILWVPRUHWKDQ
         RQHQDWXUHRIVXLWVHOHFWWKHPRVWGHILQLWLYH

V.       Origin.3ODFHDQ;LQRQHRIWKHVL[ER[HV
         2ULJLQDO3URFHHGLQJV  &DVHVZKLFKRULJLQDWHLQWKH8QLWHG6WDWHVGLVWULFWFRXUWV
         5HPRYHGIURP6WDWH&RXUW  3URFHHGLQJVLQLWLDWHGLQVWDWHFRXUWVPD\EHUHPRYHGWRWKHGLVWULFWFRXUWVXQGHU7LWOH86&6HFWLRQ
         :KHQWKHSHWLWLRQIRUUHPRYDOLVJUDQWHGFKHFNWKLVER[
         5HPDQGHGIURP$SSHOODWH&RXUW  &KHFNWKLVER[IRUFDVHVUHPDQGHGWRWKHGLVWULFWFRXUWIRUIXUWKHUDFWLRQ8VHWKHGDWHRIUHPDQGDVWKHILOLQJ
         GDWH
         5HLQVWDWHGRU5HRSHQHG  &KHFNWKLVER[IRUFDVHVUHLQVWDWHGRUUHRSHQHGLQWKHGLVWULFWFRXUW8VHWKHUHRSHQLQJGDWHDVWKHILOLQJGDWH
         7UDQVIHUUHGIURP$QRWKHU'LVWULFW  )RUFDVHVWUDQVIHUUHGXQGHU7LWOH86&6HFWLRQ D 'RQRWXVHWKLVIRUZLWKLQGLVWULFWWUDQVIHUVRU
         PXOWLGLVWULFWOLWLJDWLRQWUDQVIHUV
         0XOWLGLVWULFW/LWLJDWLRQ  &KHFNWKLVER[ZKHQDPXOWLGLVWULFWFDVHLVWUDQVIHUUHGLQWRWKHGLVWULFWXQGHUDXWKRULW\RI7LWOH86&6HFWLRQ
         :KHQWKLVER[LVFKHFNHGGRQRWFKHFN  DERYH

VI.      Cause of Action.5HSRUWWKHFLYLOVWDWXWHGLUHFWO\UHODWHGWRWKHFDXVHRIDFWLRQDQGJLYHDEULHIGHVFULSWLRQRIWKHFDXVHDo not cite jurisdictional
         statutes unless diversity. ([DPSOH86&LYLO6WDWXWH86&%ULHI'HVFULSWLRQ8QDXWKRUL]HGUHFHSWLRQRIFDEOHVHUYLFH

VII.     Requested in Complaint.&ODVV$FWLRQ3ODFHDQ;LQWKLVER[LI\RXDUHILOLQJDFODVVDFWLRQXQGHU5XOH)5&Y3
         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

VIII. Related Cases.7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
      QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

Date and Attorney Signature.'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
